                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                          THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

 In the Matter of:                                     )
                                                       )
 The Original Public House, Inc.                       )
 EIN: XX-XXX0991                                       )       CASE NO. 19-83046-CRJ11
                                                       )
                Debtor.                                )       CHAPTER 11
                                                       )

                        MOTION TO DEEM ADEQUATE ASSURANCE
                          OF PAYMENT FOR UTILITY SERVICE

        COMES NOW, The Original Public House, Inc., as Debtor and Debtor-in-Possession,

 and files this motion, pursuant to 11 U.S.C. § 366 to deem the existing arrangement between

 Debtor and Debtor’s landlord as adequate assurance of payment in favor of Huntsville Utilities

 and says as follows:

 1.     Debtor The Original Public House, Inc. filed a petition for relief under Chapter 11 of

        Title 11 in this district and division on October 10, 2019.

 2.     Since that time the Debtor has been operating its business pursuant to § 1107 and 1108 of

        the United States Bankruptcy Code.

 3.     This Court has subject matter jurisdiction to consider and determine this motion pursuant

        to 28 U.S.C. § 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is

        proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

 4.     Debtor is engaged in the operation of a restaurant in Madison County, Alabama.

 5.     Debtor’s utilities are in the name of its landlord, Fowler-Cope Land Company, LLC, and

        as such Debtor does not have a bond with Huntsville Utilities.

 6.     Huntsville Utilities was not a creditor of the Debtor’s as of the petition date.

 7.     Debtor remains current in its payments to Huntsville Utilities.




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 8.     Section 366 of the Bankruptcy Code allows a utility company to alter, refuse or

        discontinue service unless the Debtor provides adequate assurance of payment in the

        form of deposit or other security. The Court however, may order reasonable modification

        of the amount of the deposit or the security necessary to provide adequate assurance of

        payment. 11 U.S.C. § 366(b).

 9.     Debtor respectfully requests that the Court not require the posting of any additional bonds

        because Huntsville Utilities is already adequately protected as required under § 366 of the

        Bankruptcy Code.

        WHEREFORE, PREMISES CONSIDERED, Debtor respectfully requests that the

 existing arrangement between Debtor and Debtor’s landlord, Fowler-Cope Land Company, LLC,

 be deemed sufficient adequate assurance of payment as required under § 366 of the Bankruptcy

 Code and that the Debtor have such other and further relief as is just and proper.

        Respectfully submitted this 23rd day of October, 2019.

                                               /s/ Kevin D. Heard
                                               Kevin D. Heard
                                               Angela S. Ary
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 23rd day of October, 2019, I served a copy of the foregoing on
 the parties listed below and on the attached matrix by depositing the same in the United States
 Mail, postage prepaid and properly addressed, via electronic mail at the e-mail address below,
 unless the party being served is a registered participant in the CM/ECF System for the United
 States Bankruptcy Court for the Northern District of Alabama, service has been made by a
 “Notice of Electronic Filing” pursuant to FRBP 9036 in accordance with subparagraph II.B.4. of
 the Court’s Administrative Procedures as indicated below:

 Notice will be electronically mailed to:

 Richard Blythe Richard_Blythe@alnba.uscourts.gov, courtmaildec@alnba.uscourts.gov

 Kevin C. Gray kgray@bradley.com, kevingray671@gmail.com, ttatum@bradley.com,
 mpressley@bradley.com

 Notice will not be electronically mailed to:

 Fowler-Cope Land Company, LLC
 Attn: William M. Fowler
 109 B North Jefferson St.
 Huntsville, AL 35801

 Huntsville Utilities
 City of Huntsville
 112 Spragins St. NW
 Huntsville, AL 35801



                                                /s/Kevin D. Heard
                                                Kevin D. Heard




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